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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. SACV_99-560-GLT (ANx) Date: November 15, 1999

 

Title: LESLIE A KELLY -v- ARRIBA SOFT CORPORATION

PRESENT: THE HONORABLE GARY L. TAYLOR, DISTRICT JUDGE

 

Ellie Gammage Sally Marshall

Courtroom Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS > ATTORNEYS PRESENT FOR DEFENDANTS:
Steven Krongold Judith Jennison

Kelly Smith

PROCEEDINGS: Plaintifi’s motion for partial summary judgment
Defendant’s motion for partial summary judgment ag to lst and 2™
claims for relief

Case called. Appearances made by counsel. Tentative ruling granting
defendant's motion for partial judgment given to counsel. Counsel argue
Motions before the Court. Motions are taken under submission

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